                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JURYX, LLC,                                  )
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )        1:24CV881
                                             )
LAUREN E. KULP, et al,                       )
                                             )
                     Defendants.             )

                                         ORDER

       This matter is before the Court on Defendants Lauren Kulp and Tandem Legal

Solutions, LLC’s unopposed motion for extension of time to respond to the complaint. The

Court finds good cause to allow the request.

       IT IS THEREFORE ORDERED that the Motion for Extension of Time [Doc. #26]

is GRANTED. Defendants shall have up to and including January 21, 2025 to answer or

otherwise respond to the complaint.

       This, the 3rd day of January, 2025.




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